751 F.2d 1151
    MOUNTAIN STATES LEGAL FOUNDATION, on behalf of itsindividually named members, and Charles H. Maher,Jr., an individual resident of the Cityand County of Denver,Plaintiffs-Appellants,v.CITY AND COUNTY OF DENVER, a municipal corporation, Mile HiCablevision Associates, Ltd., a limited partnership composedof Daniels and Associates Partners Limited;  AmericanTelevision and Communications Corporation, a Delawarecorporation;  and Mile-Hi Cablevision, Inc., a Coloradocorporation, Defendants-Appellees.
    No. 83-2145.
    United States Court of Appeals,Tenth Circuit.
    Jan. 15, 1985.Rehearing Denied Feb. 25, 1985.
    
      Appeal from the United States District Court for the District of Colorado, 567 F.Supp. 476,  Jim R. Carrigan, Judge.
      Clint Bolick, of Mountain States Legal Foundation, Denver, Colo., for plaintiffs-appellants.
      Stephen H. Kaplan, City Atty., George J. Cerrone, Jr., Steven J. Coon, and Andrew L. Weber, Asst. City Attys., Denver, Colo., for defendant-appellee City and County of Denver.
      William C. McClearn, Joseph W. Halpern, and Elizabeth A. Phelan of Holland &amp; Hart, Denver, Colo., for defendants-appellees Mile Hi Cablevision Associates, Ltd. and Mile-Hi Cablevision, Inc.
      Before BARRETT, SETH and McKAY, Circuit Judges.
      PER CURIAM.
    
    
      1
      This three-judge panel has determined unanimously that oral argument would not be of material assistance in the determination of this appeal.  See Fed.R.App.P. 34(a);  10th Cir.R. 10(e).  The cause is therefore ordered submitted without oral argument.
    
    
      2
      This matter is before the court on plaintiffs' "Motion to Remand to District Court with Instructions to Dismiss the Complaint as Moot and to Vacate Decision of District Court."    The basis for this motion is plaintiffs' argument that the governmental actions complained of below have been satisfied by intervening state court pronouncements relating to the subject cable television permit and contract.  We are not convinced, however, that the instant appeal has been rendered moot by the state court proceedings.
    
    
      3
      Nevertheless, we do consider plaintiffs' papers filed in this court as compelling evidence of their lack of willingness to fully contest the issues on appeal.  Therefore, we construe their motion to remand as a request for voluntary dismissal of the appeal under Fed.R.App.P. 42(b).  As so construed, the motion is hereby granted.
    
    
      4
      DISMISSED.  The mandate shall issue forthwith.
    
    